OSCN Case Details                                                                                Page 1 of 3
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information is governed by this act, as well as other applicable state and federal laws.

      IN THE DISTRICT COURT IN AND FOR CADDO COUNTY, OKLAHOMA

                                                        No. CJ-2019-00074
                                                        (Civil relief more than $10,000: BREACH
                                                        AGREEMENT / CONTRACT)
 DEBRA JOHNSON V. PRUDENTIAL INSURANCE
 COMPANY                                                Filed: 08/05/2019



                                                        Judge: KIRKLAND, HONORABLE KORY


PARTIES
PRUDENTIAL INSURANCE COMPANY, Defendant
JOHNSON, DEBRA, Plaintiff



ATTORNEYS
Attorney                                               Represented Parties
DUNHAM, JAMES W JR
2112 BANK OF AMERICA CENTER
15 WEST 6TH STREET SUITE 2112
TULSA , OK 74119



EVENTS
Event                                                                Party      Docket        Reporter
Wednesday, December 11, 2019 at 1:30PM
 CIVIL MOTION DOCKET


ISSUES



https://www.oscn.net/dockets/GetCaseInformation.aspx?db=caddo&number=CJ-2019-74                  11/22/2019
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 1. BREACH AGREEMENT / CONTRACT



DOCKET
Date         Code Description                                           Count Party Amount
08-05-2019        FILE AND ENTER PETITION-$10001.00 OR MORE                         $ 163.00
                  Document Available (#CC19080500000658) TIFF     PDF

                  (Entry with fee only)                                               $ 6.00

                  (Entry with fee only)                                               $ 7.00

                  OCIS FEE - EFFECTIVE 07/01/04                                      $ 25.00

                  LENGTHY TRIAL FUND                                                 $ 10.00

                  OK COURT APPOINTED SPECIAL ADVOCATES                                $ 5.00

                  10% OF CASA TO COURT CLERK REVOLVING FUND                           $ 0.50

                  OK COUNCIL ON JUDICIAL COMPLAINTS REVOLVING                         $ 1.55
                  FUND

                  10% OF COJC TO COURT CLERK REVOLVING FUND                           $ 0.16

                  COURTHOUSE SECURITY FEE                                            $ 10.00

                  10% OF CHSC TO COURT CLERK REVOLVING FUND                           $ 1.00

                  STATE JUDICIAL REV. FUND INTERPRETER &                              $ 0.45
                  TRANSLATOR SERVICES

                  15% TO DISTRICT COURT REVOLVING FUND                                $ 2.48

08-05-2019        ISSUE SUMMONS (1 BACK TO ATTY FOR SERVICE)                         $ 10.00
                  Document Available (#CC19080500000652) TIFF     PDF

09-04-2019        SUMMONS AND CARD RETURNED SIGNED
                  BY:OKLAHOMA INSURANCE
                  Document Available (#CC19090400000059) TIFF     PDF

                  CO ON 8-16-19

10-15-2019        PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT AND
                  MOTION FOR
                  Document Available (#CC19101500000273) TIFF PDF

                  EVIDENTIARY HEARING UPON DAMAGES

11-06-2019        ORDER FOR HEARING 12-11-19 @ 1:30PM
                  Document Available (#CC19110600000139)   TIFF   PDF




https://www.oscn.net/dockets/GetCaseInformation.aspx?db=caddo&number=CJ-2019-74   11/22/2019
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